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                     Exhibit 10
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       Infringement Claim Chart for U.S. Pat. No. US9456086B1 v. Seek Thermal (“Defendant”)


    Claim11                                              Evidence
11. A method for   The Seek Thermal Customer Support Service system with intelligent routing performs a
matching a first   method of matching a first entity with a second entity.
entity with a
second entity,     For example, the Seek Thermal Customer Support Service system matches an incoming
comprising:        call, which is the first entity, to a call center agent, which is the second entity.




                   Source: Support Hours – Seek Thermal Support




                                                   1
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   Source: Support Hours – Seek Thermal Support




                                     2
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   Source: Online Support Form (netsuite.com)




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                                     4
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   Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
   Infrared Thermal Cameras




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               Source: Seek Thermal selects Zendesk Service for Customer Support
               (appsruntheworld.com)




               Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk
               India

storing a      The Seek Thermal Customer Support Service system with intelligent routing stores a




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plurality of           plurality of multivalued scalar data representing inferential targeting parameters for the
multivalued            first entity.
scalar data
representing           For example, the Seek Thermal Customer Support Service system uses one or more of:
inferential            interactive voice response (IVR), keypad menus, caller identification and customer
targeting              relationship management (CRM) information to determine the nature of a call and
parameters for         thereby, the required characteristics of a call center agent to handle the call. These
the first entity;      required agent characteristics include one or more of: skills and respective skill levels,
                       the agent’s location, prior call history with calls of the same nature. These required
                       characteristics are represented by Zendesk Omnichannel support comprising a plurality
                       of multivalued scalar data, which is stored and used, by the Seek Thermal Customer
                       Support Service system, as inferential, or intelligent, targeting parameters for routing the
                       call to an appropriate call center agent.




                       Source: Support Hours – Seek Thermal Support




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   Source: Support Hours – Seek Thermal Support




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   Source: Online Support Form (netsuite.com)




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   Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
   Infrared Thermal Cameras




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                  Source: Seek Thermal selects Zendesk Service for Customer Support
                  (appsruntheworld.com)




                  Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk
                  India

storing a         The Seek Thermal Customer Support Service system with intelligent routing stores a
plurality of      plurality of multivalued scalar data of each of the plurality of second entities,




                                                    12
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multivalued        representing inferential targeting parameters for a plurality of second entities.
scalar data of
each of the        For example, the Seek Thermal Customer Support Service system stores the respective
plurality of       characteristics of multiple call center agents. These agent characteristics include one or
second entities,   more of: skills and respective skill levels, the agent’s location, and the agent’s prior
representing       history with handling calls of a specific nature. The agent characteristics are represented
inferential        by Zendesk Omnichannel support comprising a plurality of multivalued scalar data and
targeting          are used, by the Seek Thermal Customer Support Service system, as inferential targeting
parameters for a   parameters for routing the call to an appropriate call center agent.
plurality of
second entities;




                   Source: Support Hours – Seek Thermal Support




                                                      13
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   Source: Support Hours – Seek Thermal Support




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   Source: Online Support Form (netsuite.com)




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   Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
   Infrared Thermal Cameras




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   Source: Seek Thermal selects Zendesk Service for Customer Support
   (appsruntheworld.com)




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                   Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk
                   India

performing         The Seek Thermal Customer Support Service system with intelligent routing performs,
using an           using an automated processor and based on at least the stored plurality of multivalued
automated          scalar data, an economic optimization. The optimization seeks to maximize a normalized
processor,         economic surplus of a respective mutually exclusive match of the first entity with the
based on at        second entity, while at the same time considering an opportunity cost of the
least the stored   unavailability of the second entity as a result of the match.
plurality of
multivalue         For example, based on the required agent characteristics for handing the call and the
scalar data, an    respective characteristics of multiple call center agents, the Seek Thermal Customer
economic           Support Service system selects an appropriate agent for handling the call. This selection
optimization       is made by making, for each of the multiple agents, a cost-benefit analysis of a
seeking to         prospective matching of the call with the particular agent. The cost-benefit for the
maximize a         prospective match is based, at least in part, on the required agent characteristics and
normalized         the characteristics of the particular agent. This prospective match is mutually exclusive
economic           in the sense that the call is only assigned to the particular agent and the agent to this
surplus of a       particular call for the duration of the call. Therefore, the cost-benefit analysis also
respective         accounts for the fact that the agent cannot handle other calls while handling this call.




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mutually            The agent associated with the prospective match that has the maximum benefit while
exclusive match considering the reduced costs, which is the so-called normalized economic surplus, is
of the first entity selected by the Seek Thermal Customer Support Service system to handle the call.
with the second
entity, in
conjunction with
an opportunity
cost of the
unavailability of
the second
entity as a result
of the match;
and




                 Source: Support Hours – Seek Thermal Support




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   Source: Support Hours – Seek Thermal Support




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   Source: Online Support Form (netsuite.com)




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   Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
   Infrared Thermal Cameras




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   Source: Seek Thermal selects Zendesk Service for Customer Support
   (appsruntheworld.com)




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                Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk
                India

outputting a    The Seek Thermal Customer Service system with intelligent routing outputs a signal in
signal in       dependence on the optimization.
dependence on
the             For example, the Seek Thermal Customer Service system generates and outputs a signal
optimization.   for connecting the call with the matched agent, whereby the exact nature of the signal
                depends on the matched agent, so as to connect that agent to the call.




                                                 26
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   Source: Support Hours – Seek Thermal Support




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   Source: Support Hours – Seek Thermal Support




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   Source: Online Support Form (netsuite.com)




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   Source: Seek Thermal | Affordable Infrared Thermal Imaging Cameras - Affordable
   Infrared Thermal Cameras




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   Source: Seek Thermal selects Zendesk Service for Customer Support
   (appsruntheworld.com)




   Source: Zendesk: Customer Service Software and Sales CRM | Best in 2023 | Zendesk
   India




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